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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                                                                       8:17CR59
                      Plaintiff,

       vs.                                                              ORDER

CHRISTINA WALKER,

                      Defendant.


       The defendant, Christina Walker, has moved to continue the trial (filing no. 48). The
motion to continue is unopposed by counsel for the Government. Based on the showing set
forth in the motion, the court finds the motion should be granted. Accordingly,

       IT IS ORDERED:

       1)      Defendant Christina Walker's unopposed motion to continue trial (filing no. 48) is
               granted.

       2)      The trial of this case is set to commence before the Honorable John M. Gerrard,
               United States District Judge, in Courtroom #5 of the Roman L. Hruska Federal
               Courthouse, Omaha, Nebraska, at 9:00 a.m. on November 27, 2017, or as soon
               thereafter as the case may be called. Jury selection will be held at
               commencement of trial.

       3)      Based upon the showing set forth in the defendant’s motion and the
               representation of counsel, the Court further finds that the ends of justice will be
               served by continuing the trial; and that the purposes served by continuing the trial
               date in this case outweigh the interest of the defendant and the public in a
               speedy trial. Accordingly, the additional time arising as a result of the granting of
               the motion, the time between today’s date, and the anticipated trial, shall be
               deemed excludable time in any computation of time under the requirements of
               the Speedy Trial Act, because despite counsel’s due diligence, additional time is
               needed to adequately prepare this case for trial and failing to grant additional
               time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(1), (h)(6) &
               (h)(7).

       October 13, 2017.

                                                     BY THE COURT:

                                                     s/ Michael D. Nelson
                                                     United States Magistrate Judge
